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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 LUMINATI NETWORKS LTD.

             Plaintiff,

       v.                                  Case No. 2:19-CV-00395-JRG
 TESO LT, UAB, Oxysales, UAB, and
                                           FILED UNDER SEAL
 Metacluster LT, UAB,
             Defendants.                   JURY TRIAL DEMANDED




            PLAINTIFF’S MOTION TO STRIKE EXPERT TESTIMONY OF
                            KEITH UGONE, PH.D.
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                                        INTRODUCTION

         The rebuttal report of Defendant’s damages expert Dr. Keith Ugone does not set forth a

 reasonable royalty analysis based on infringement in the absence of noninfringing alternatives. 1

 Instead, his opinion as to damages caps the damage amount on a purported noninfringing

 alternative that                                    . This opinion has flaws that run afoul of the

 Daubert standard. First, the purported noninfringing alternative is accused of infringement, and

 was not an actual design in use at the time of the hypothetical negotiation. Second, as a matter of

 law, reasonable royalty damages are not capped at the cost of a design around, and Dr. Ugone does

 no other analysis for reasonable royalty (for example, he does not attempt any separate valuation

 of the patented technology nor perform any apportionment). For these reasons, Luminati moves

 to strike Dr. Ugone’s opinion as to reasonable royalty, specifically his opinion that the parties

 would agree to an amount of only           in total due to the purported alternative.

         Dr. Ugone provides other improper opinions about noninfringing alternatives that are

 inconsistent with the evidence and should be disallowed. As a result, Dr. Ugone’s opinion that

 lost profits are not an allowable measure of damages should be excluded. Dr. Ugone’s opinions

 about other alternatives such as data center proxies, residential proxies outside the U.S., other

 providers, and possible in-house solutions are also unfounded and should be excluded.

                                          ARGUMENT

 I.      LEGAL STANDARD

         “Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509

 U.S. 579 (1993) govern the admissibility of expert testimony. Experts may offer opinions at trial


1
  Dr. Ugone did not present a lost profits analysis of his own, but only provides certain criticisms
 to Dr. Becker’s lost profits analysis.
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 if: ‘(a) the expert’s scientific, technical, or other specialized knowledge will help the trier of fact

 to understand the evidence or to determine a fact in issue; (b) the testimony is based on sufficient

 facts or data; (c) the testimony is the product of reliable principles and methods; and (d) the expert

 has reliably applied the principles and methods to the facts of the case.’ Fed. R. Evid. 702.”

 Godo Kaisha IP Bridge 1 v. Broadcom Ltd., No. 2:16-cv-134-JRG-RSP, 2017 U.S. Dist. LEXIS

 160561, at *2-3 (E.D. Tex. Apr. 19, 2017)(emphasis added). The court’s gatekeeping function

 involves a two-part inquiry into both reliability and relevance. Under the relevance inquiry, the

 Court must assess whether the reasoning or methodology “fits” the facts of the case and whether

 it will thereby assist the trier to understand the evidence. Daubert, 509 U.S. at 589.

        “[F]undamentally unsupported” opinions “offer[] no expert assistance to the [trier of fact]”

 and should be excluded. Guile v. United States, 422 F.3d 221, 227 (5th Cir. 2005). The Fifth

 Circuit has instructed: “To be sure, reliable expert testimony often involves estimation and

 reasonable inferences from a sometimes incomplete record. Further, a few scattered errors in an

 expert report are not necessarily grounds for exclusion. Here, however, the universe of facts

 assumed by the expert differs frequently and substantially from the undisputed record evidence.”

 Moore v. International Paint, L.L.C., 547 F.App’x. 513, 516-17 (5th Cir. 2013).

 II.    DR. UGONE’S REASONABLE ROYALTY, BASED ENTIRELY ON A NON-
        EXISTENT ALTERNATIVE DESIGN, IS IMPROPER AND SHOULD BE
        STRICKEN

       A. Dr. Ugone’s Reasonable Royalty Opinion Improperly Depends Entirely On
            A Purported “Noninfringing Alternative” That Was Never Implemented

        Dr. Ugone testified that despite                            in lost profits, the parties to a

 hypothetical negotiation would agree to a license totaling approximately                  based on a

 purported noninfringing alternative whereby Teso would

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                                                       . However, there is no evidence that any such

 system existed or was being used at the time of the hypothetical negotiation, nor any such

 allegation by Dr. Ugone.

        As a result, Dr. Ugone’s reasonable royalty opinion lacks any appropriate basis under

 Daubert, he addresses only current, post-hoc arguments about an alternative system he fails to

 provide with any detail and has never existed in the marketplace. Dr. Ugone fails to provide any

 evidence that anyone ever attempted to develop products based on the purported alternative design.

 As such, it is improper. See Grain Processing Corp. v. American Maize-Products Co., 185 F.3d

 1341, 1353 (Fed. Cir. 1999) (which requires that the availability of any alternatives be based on

 “concrete fact[s]” and not “speculation or possibilities.”).

        Dr. Ugone states that it is his understanding that the alternatives “were available as a

 noninfringing alternative by no later than April 2019 (i.e., at the time of the first alleged

 infringement)” but cites no evidence to support that conclusion. Ugone Rpt., ¶ 125. He cites only

 footnote 458, which contains no information showing that such a design existed or was used by

 anyone in April 2019. Dr. Ugone’s reasonable royalty opinion relies primarily on the purported

 alternative design that was never disclosed to Plaintiff. Dr. Ugone’s reliance on the purported

 alternative design infects his analysis of Georgia Pacific factors 7, 9, 10, 13, and his ultimate

 opinion pursuant to factor 15 that the amount of the reasonable royalty would be limited to the cost

 of the design around to defendants                                                                 .

 Dr. Ugone’s reasonable royalty analysis should be struck in its entirety for improperly relying on

 the undisclosed purported alternative design.

        Georgia-Pacific factor 7 focuses on the duration of the patent and the term of the license.

 Dr. Ugone inappropriately relies on the “existence of an economically and technologically
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                                                                                                    .

 Ugone Rpt., ¶¶ 8(c), 10(d), 11, 12, 103(b) (n.419), 111 (and Table 18), 124 (and Table 20), 149(a),

 150, 151, and 152. Dr. Ugone testified that he capped the damages at the cost of a particular

 design-around. Ugone Dep., 86:6–16. He agreed that he performed no apportionment or other

 analysis, and felt that he did not need to do so because his cost of implementation cap overrode all

 other considerations. Id., at 144:18–145:6. As a result, his ultimate opinion ignored all other

 Georgia-Pacific factors. Id.

        However, as a matter of law, reasonable royalty damages are not capped on proposed

 noninfringing alternatives. “The Federal Circuit rejected the infringer’s argument that ‘reasonable

 royalty damages are capped at the cost of implementing the cheapest available, acceptable,

 noninfringing alternative.’” Looksmart Grp., Inc. v. Microsoft Corp., No. 17-cv-04709-JST, 2019

 U.S. Dist. LEXIS 146851, at *12-13 (N.D. Cal. July 12, 2019), citing Mars, Inc. v. Coin Acceptors,

 Inc., 527 F.3d 1359, 1373 (Fed. Cir. 2008), mandate recalled and modified on other grounds by

 557 F.3d 1377 (Fed. Cir. 2009). As the Mars Court stated,

            [E]ven if Coinco had shown that it had an acceptable noninfringing alternative
        at the time of the hypothetical negotiation, Coinco is wrong as a matter of law to
        claim that reasonable royalty damages are capped at the cost of implementing the
        cheapest available, acceptable, noninfringing alternative. We have previously
        considered and rejected such an argument. See Monsanto Co. v. Ralph, 382 F.3d
        1374, 1383 (Fed. Cir. 2004) (rejecting infringer’s argument that “a reasonable
        royalty deduced through a hypothetical negotiation process can never be set so high
        that no rational self-interested wealth-maximizing infringer acting ex ante would
        ever have agreed to it”). To the contrary, an infringer may be liable for damages,
        including reasonable royalty damages, that exceed the amount that the infringer
        could have paid to avoid infringement.

 Mars, at 1373.

        The problems created by Dr. Ugone’s method are clear from the ultimate opinion he

 presents. Dr. Ugone himself estimated that
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 III.   DR. UGONE’S OTHER OPINIONS ABOUT ALTERNATIVES TO
        INFRINGEMENT SHOULD BE DISALLOWED, AND, AS A RESULT, HIS LOST
        PROFITS OPINION SHOULD BE STRICKEN

        Under Panduit Corp. v. Stahlin Bros. Fibre Works, Inc., 575 F.2d 1152, 1156 (6th Cir.

 1978) a patent owner must show the following factors to be entitled to lost profits: 1) demand for

 the patented product; 2) absence of acceptable noninfringing substitutes; 3) manufacturing and

 marketing capability to exploit the demand; and 4) the amount of profit the patent holder would

 have made but for the defendant’s infringement.

        Dr. Ugone’s opinion that lost profits should not be available to Luminati was based entirely

 on purported noninfringing alternatives: 1) purported alternative designs; and 2) alternative

 services that Dr. Ugone did not analyze for commercial acceptability.

        The correct inquiry under Panduit factor 2 is whether a noninfringing alternative would be

 commercially acceptable compared to the patent owner’s product, not whether it is a substitute for

 the infringing product. Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 875 F.3d 1396,

 1381 (Fed. Cir. 2017). “The ‘but for’ inquiry therefore requires a reconstruction of the market, as

 it would have developed absent the infringing product, to determine what [sales] the patentee

 ‘would . . . have made.’” Grain Processing Corp. v. Am. Maize-Products Co., 185 F.3d 1341, 1350

 (Fed. Cir. 1999). Further, the “[m]ere existence of a competing device does not make that device

 an acceptable substitute.” TWM Mfg. Co., Inc. v. Dura Corp., 789 F.2d 895, 901 (Fed. Cir. 1986).

 If an “infringer had to design or invent around the patented technology to develop an alleged

 substitute” that weighs against a finding of availability. Micro Chemical, Inc. v. Lextron, Inc., 318

 F.3d 1119, 1123 (Fed. Cir. 2003). Instead of performing the requisite analysis, Dr. Ugone’s report

 simply lists off number of purported acceptable alternatives, but he did not attempt to reconstruct

 the market or perform an analysis of the commercial acceptability of any of the purported
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 alternatives that he addressed in his report. Thus, Dr. Ugone’s analysis is contrary to the legally

 required analysis for Panduit factor 2 and should be stricken under Fed. R. Evid. 702 and Daubert.

      A. The Undisclosed Purported Alternative Designs Were Not Available
            During the Damages Period

         As discussed above under the reasonable royalty analysis, the modifications to Teso’s

 system relied upon by Dr. Ugone were not implemented at the time of the hypothetical negotiation,

 and as such cannot be used to undermine the availability of lost profits. See Grain Processing

 Corp., at 1353 (availability of any alternatives be based on “concrete fact[s]” and not “speculation

 or possibilities.”) .

         Dr. Ugone’s opinion is based solely on a hypothetical design around that Defendants assert

 could have been available as of December 2017 when the infringement began. This theory fails

 under Grain Processing because it is not based on any “concrete facts” but rather speculation.

 Defendants have not in fact implemented this undisclosed purported design around or studied its

 feasibility, nor have they performed any analysis to determine if it could perform to the level that

 its customers desire.     For the same reasons such opinions should be disallowed under the

 reasonable royalty analysis, they should also preclude Dr. Ugone from opining that Panduit Factor

 2 is absent for lost profits.

      B. Dr. Ugone Does Not Substantively Analyze the Acceptability of Any of the
            Purported Alternatives Identified in His Report

         The Ugone Report offers the purported Teso                               , data center proxy

 networks, and the use of non-U.S. exit nodes as purported acceptable alternatives that render lost

 profit damages unavailable in this case. Critically, Dr. Ugone does not provide any analysis to

 support his conclusory opinions that these purported alternatives are acceptable. In this regard, Dr.

 Ugone’s opinion is based solely on discussions with Defendants’ CTO and technical expert and
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 assumptions and conclusions that do not in any way address this issue. (See, e.g., Ugone Rpt., ¶¶

 19, n. 30, 41, 123, n. 169, ).

         In addition to failing to show the availability of                          , Dr. Ugone did

 no analysis as to commercial acceptability, but instead recites Dr. Almeroth as providing that

 information. However, Dr. Almeroth is a technical expert who also did no analysis and rendered

 no opinions as to commercial acceptability. Dr. Almeroth did not speak with any customers and

 is not qualified to opine about commercial acceptability, and Dr. Ugone did not independent

 analysis.

         Defendants and Luminati advertise the size and geographical scope of their IP proxy

 networks. Luminati advertises that its network includes 70 million+ residential IP addresses

 available in worldwide and that its network is “fastest and largest real-peer IP network in the

 world.” (Ugone Report at ¶ 32). Luminati’s network also allows its customers to specify the

 location of the residential nodes that they use down to specific states and cities. (Ugone Report at

 ¶¶ 28, 33). Defendants’ advertising mimics Luminati’s and makes many similar claims regarding

 the size and scope of Defendants’ network. Defendants’ advertise that their residential IP network

 includes 100 million+ “real IPs from all around the world” and that Defendants offer their

 customers “an extensive list of locations, and city-level targeting to meet even the most diverse

 business requirements.” Ugone Dep. Ex. P306.

         Critically, Dr. Ugone did not perform any analysis of any of the purported alternative

 designs or purported alternative service providers to determine how their pricing structures and

 network scale and scope compare to those of the infringing network or Luminati’s network. On

 this basis, the entirety of his lost profits opinion should be excluded. Dr. Ugone also did not offer

 this information for the other residential IP service providers who he identified in his report.
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                         . Id. There is no evidence or analysis by Dr. Ugone that would support

                                                                           , and this opinion should

 be stricken.

            3.       Dr. Ugone “other provider” opinions are baseless and fail to show
                     that they do not infringe

        Dr. Ugone speculates that due to the existence of other residential proxy providers,

 customers using Defendants’ infringing products may have chosen a provider other than Luminati

 had Defendants not been in the marketplace without any evidence of such a result. (See Ugone

 Report, ¶ 73). However, Dr. Ugone provides no evidence or analysis that in the absence of

 Defendants’ infringement, the customers at issue in this case would have avoided Luminati.

 Instead, Dr. Ugone theorizes and speculates. Such an opinion is not sufficiently reliable to be

 admissible under Daubert.

        The Ugone Report also wrongly assumes these other proxy providers are not infringing

 when the other providers have been accused of infringement. (See Ugone Report at ¶ 153). For

 example, Geosurf and NetNut, listed in bold as potential alternatives, were sued by Luminati. (See

 Case No. 2-19-cv-00352, Dkt. No. 1 (BI Science/Geosurf), Case No. 2:20-cv-188-JRG-RSP, Dkt.

 No. 1 (NetNut).).

        Moreover, Dr. Ugone again relied on fundamentally unreliable evidence and merely

 repeated what Defendants told him instead of conducting his own analysis. (See Ugone Report,

 (See e.g., Ugone Rpt., ¶¶ 19, n. 30, 41, 123, n. 169). Nothing cited by Dr. Ugone discusses with

 any specificity the alternatives which are actually used by the customers at issue herein. Dr. Ugone

 did not perform an independent analysis to determine if any of the other proxy providers could be


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            5.      Dr. Ugone failed to provide any real analysis as to whether any of
                    the alternatives identified in his report would be commercially
                    acceptable

        Throughout Dr. Ugone’s report, the opinions provided concerning noninfringing

 alternatives have been nothing more than speculative and conclusory, based on limited to no

 evidence, no independent investigation, and no real analysis concerning the location, size, pricing,

 sophistication, or particularities of each alleged alternative. Dr. Ugone repeatedly relied upon

 conversations with Defendants rather than performing any independent study from which he could

 have based his opinion. Dr. Ugone simply spent most of his report speculating as to why

 Defendants might not be responsible for 100% of the lost profits from the customers using their

 infringing products rather that Luminati’s.

        Under Rule 702, the Court must consider whether (1) the testimony is based upon sufficient

 facts or data, (2) the testimony is the product of reliable principles and methods, and (3) the witness

 has applied the principles and methods reliably to the facts of the case. See, e.g., Prism Techs.,

 LLC v. T-Mobile USA, Inc., No. 8:12CV124, 2015 U.S. Dist. LEXIS 137677, at *6 (D. Neb. Oct.

 8, 2015). Here, the Court cannot possible consider Dr. Ugone’s testimony because there is simply

 no disclosure of his principles and methods, nor of how he applied those principles and methods.

        As such, Dr. Ugone’s opinion concerning noninfringing alternatives and lost profits

 generally is substantially unreliable such that it cannot survive Daubert. Dr. Ugone should not be

 permitted to testify concerning noninfringing alternatives or lost profits generally, and his report

 should be struck accordingly.

        In sum, Dr. Ugone’s opinions related to Panduit should be stricken because they are

 precisely the types of shoddy, unscientific, and unsupported opinions that Daubert was intended

 to eliminate from the jury’s c nsideration.
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                                          CONCLUSION

        For all the reasons stated above, Luminati respectfully requests the Court strike and exclude

 Dr. Ugone’s opinion as to the correct amount of a reasonable royalty from a hypothetical

 negotiation. His opinion that damages would be                                              is based

 exclusively on an improper analysis of a hypothesized alternative that was not in the market or

 implemented by anyone in April 2019, and he improperly capped the royalty based on this analysis,

 ignoring all other Georgia-Pacific factors. In addition, Dr. Ugone’s other opinions about use of

 extraterritorial proxies, data centers, other providers, and in-house solutions are without basis and

 should not be permitted.



  Dated: January 25, 2021                           Respectfully submitted,

                                                    By: Korula T. Cherian__

                                                    Amadou Kilkenny Diaw
                                                    Colby Davis
                                                    Craig Hoovler
                                                    Ronald Wielkopolski
                                                    RuyakCherian LLP
                                                    1700 K St. NW, Suite 810
                                                    Washington, DC 20006

                                                    Korula T. Cherian
                                                    Robert Harkins
                                                    RuyakCherian LLP
                                                    1936 University Ave, Ste. 350
                                                    Berkeley, CA 94702

                                                    J. Mark Mann
                                                    State Bar No. 12926150
                                                    mark@themannfirm.com
                                                    G. Blake Thompson
                                                    State Bar No. 24042033
                                                    blake@themannfirm.com
                                                    MANN | TINDEL | THOMPSON
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                                        300 West Main Street
                                        Henderson, Texas 75652
                                        (903) 657-8540
                                        (903) 657-6003 (fax)

                                        S. Calvin Capshaw
                                        State Bar No. 03783900
                                        Elizabeth L. DeRieux
                                        State Bar No. 05770585
                                        Capshaw DeRieux, LLP
                                        114 E. Commerce Ave.
                                        Gladewater, TX 75647
                                        Telephone: 903-845-5770
                                        ccapshaw@capshawlaw.com
                                        ederieux@capshawlaw.com

                                        Attorneys for Plaintiff
                                        Luminati Networks Ltd.




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                                     CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic

 service are being served this 25th day of January, 2021, with a copy of this document via electronic

 mail.



                                               /s/ Korula T. Cherian




                              CERTIFICATE OF CONFERENCE


         The undersigned hereby certifies that counsel for the parties have complied with Local

 Rule CV-7(h). A telephonic meet and confer was held on January 25, 2021 involving Bob Harkins,

 on behalf of Luminati and Steven Callahan on behalf of Defendants. The parties have been unable

 to come to an agreement and are at an impasse. Defendants oppose this motion.



                                               /s/ Korula T. Cherian



                  CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL



         I hereby certify that the foregoing document is being filed under seal pursuant to the

 Protective Order entered in this matter.



                                               /s/ Ronald Wielkopolski


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